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 FLITTER MILZ, P.C.                                ATTORNEYS FOR PLAINTIFFS,
 BY: CARY L. FLITTER                               individually and on behalf of all others
 IDENTIFICATION NO. 35047                          similarly situated
 BY: ANDREW M. MILZ
 IDENTIFICATION NO. 207715
 BY: JODY THOMAS LÓPEZ-JACOBS                      MAJOR NON-JURY CASE
 IDENTIFICATION NO. 320522
 450 North Narberth Avenue, Suite 101
 Narberth, PA 19072
 (610) 822-0782
 GARY NELSON,                                      COURT OF COMMON PLEAS
 KAYLEIGH POTTER,                                  PHILADELPHIA COUNTY
 individually and on behalf of all others
 similarly situated,                                              TERM, 2022
                               Plaintiffs
                                                   NO.
           vs.                                     CLASS ACTION
 BANK OF AMERICA,
 NATIONAL ASSOCIATION,
                      Defendant.

                                     CLASS COMPLAINT

I.     INTRODUCTION

       1.      This is a consumer class action brought against an auto lender to redress systemic

violations of Pennsylvania’s Uniform Commercial Code (“UCC”), 13 Pa C.S. § 9601, et seq. The

UCC requires secured parties who utilize self-help repossession to provide consumers with proper

notice when repossessing and reselling a financed vehicle.

       2.      Defendant, Bank of America, National Association (“Bank”), regularly finances

the purchase of automobiles for consumer use in Pennsylvania. When the Bank believes that a

consumer has defaulted on a secured vehicle finance agreement, it repossesses and then makes

preparations to auction the vehicle. In the course of so doing, the Bank failed to provide Plaintiffs

and the class with the proper notice of repossession and disposition of collateral required by

Pennsylvania Law, including Pennsylvania’s Uniform Commercial Code (“UCC”).




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       3.       Because self-help repossession is effected without judicial authorization or

oversight, the UCC requires secured creditors like the Bank to adhere strictly to the Code’s notice

requirements.

       4.       Failure to provide proper notice of repossession of consumer goods is a violation

of the Code that yields statutory minimum damages without evidence of harm for the Plaintiffs

and the class they seek to represent.

II.    PARTIES/VENUE

       5.       Plaintiff Gary Nelson (“Nelson”), is a consumer and an adult individual who resides

in Reading, PA.

       6.       Plaintiff Kayleigh Potter (“Potter”), is a consumer and an adult individual who

resides in Pittsburgh, PA.

       7.       Defendant Bank of America, National Association (“Bank”) is a foreign

corporation with an office for the regular transaction of business at 1600 JFK Blvd, Philadelphia,

PA 19103.

       8.       The Bank is licensed by the Pennsylvania Department of Banking and Securities as

a Sales Finance Company.

       9.       The Bank, as a sales finance company, finances the purchase of automobiles in

Pennsylvania.

       10.      The Bank regularly enters into or takes assignment of motor vehicle installment

sale contracts with borrowers in Philadelphia and elsewhere in the Commonwealth.

III.   STATEMENT OF CLAIM

       Mr. Nelson’s Experience

       11.      On or about February 24, 2016, Mr. Nelson financed the purchase of a used 2013



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Ford Explorer pursuant to a Retail Installment Sale Contract (“RISC”). (Ex. A, Retail Installment

Sale Contract.)

       12.        The Bank financed the transaction and took a security interest in the vehicle.

       13.        Under the Nelson RISC, the Bank was the secured party to which monthly

payments were required to be made.

       14.        In or about May 2021, the Bank declared a default.

       15.        In or about May 2021, the Bank, as the secured party, repossessed Mr. Nelson’s

automobile or ordered that it be repossessed.

       16.        Pennsylvania law requires immediate post-repossession notice to the borrower

advising of the repossession and stating, among other things, how many days to act before the sale

of the vehicle, whether the vehicle will be sold by public or private sale, whether the debtor may

be liable for a deficiency or entitled to a surplus, and other information. The Notice must be

delivered in person to the borrower, or sent via registered or certified mail. 12 Pa.C.S. § 6254.

       17.        On or about May 13, 2021, after the repossession, the Bank prepared a Notice of

Plan to Sell Property directed toward Nelson. (“Notice”). On May 14, 2021, the day after the date

on the Notice, the Bank mailed the Notice to Nelson via certified mail.

       18.        Pennsylvania law requires that secured parties like the Bank provide the borrower

the right to redeem the vehicle for fifteen days from the date of mailing of the Notice. The Notice

must inform the borrower of this right. 12 Pa.C.S. § 6254(3) provides that “[t]he notice of

repossession shall contain the following . . . (3) Notice to the buyer of the holder’s intent to resell

the motor vehicle at the expiration of 15 days from the date of mailing the notice.” This statute is

to read in pari materia with the Pennsylvania UCC on the issue of repossession of a motor vehicle.




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        19.     The Notice misstates and understates the amount of time the borrower has to

redeem.

        20.     Specifically, the date of mailing the Notice is May 14, 2021, so the fifteenth and

final day for the borrower to redeem would fall on May 29, 2021. By statute, the repossessed

vehicle may not be sold or auctioned by the Bank before May 29, 2021.

        21.     However, the Notice provides, “We will sell the 2013, FORD, EXPLORER at

private sale sometime after May 27, 2021.” This is 13 days from the date of mailing the Notice.

        22.     The Bank, as secured party, sent template forms of Notice to consumers across

Pennsylvania providing an inadequate and commercially unreasonable period of time to act to

redeem their motor vehicle, i.e., less than 15 days to act.

        Ms. Potter’s Experience

        23.     On or about March 8, 2017, Ms. Potter financed the purchase of a 2017 Chevrolet

Impala pursuant to a Retail Installment Sale Contract (“RISC”). (Ex. B, Retail Installment Sale

Contract.)

        24.     The Bank financed the transaction, took an assignment of the contract rights, and

took a security interest in the vehicle.

        25.     Under the Potter RISC, the Bank was the secured party to which monthly payments

were required to be made.

        26.     In or about September 2021, the Bank declared a default.

        27.     In or about September 2021, the Bank, as the secured party, repossessed Ms.

Potter’s automobile or ordered that it be repossessed.




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       28.      On or about September 29, 2021, the Bank issued and mailed to Ms. Potter a Notice

of Plan to Sell Property (“Notice”). The Notice states that the Bank will sell the vehicle at a sale

sometime after October 13, 2021. This is 14 days from the date of mailing the notice.

       29.      The Potter Notice suffers from the same defects as the Nelson Notice in that it

misstates and understates the statutory time in which the borrower has to redeem.

       30.      The Bank, as secured party, sent a template form Notice to consumers across

Pennsylvania.

       Governing Law

       31.      Article 9 of the Uniform Commercial Code (“UCC”), 13 Pa. C.S. § 9601, et seq.,

governs the repossession of vehicles in Pennsylvania.

       32.      Under the UCC, 13 Pa. C.S. § 9610, “[E]very aspect of a disposition of collateral

… must be commercially reasonable[.]” This requirement includes post-repossession notice.

       33.      Under the UCC, 13 Pa. C.S. § 9611, the Bank was required to provide “reasonable

authenticated notification of disposition” and repossession of the collateral.

       34.      In sending the Notices described above, the Bank failed to provide adequate and

reasonable notification of repossession and disposition of collateral to Plaintiffs and the putative

class of borrowers.

       35.      In the course of the repossession and disposition process, the Bank did not act in a

commercially reasonable manner toward Plaintiffs and the putative class of borrowers, and did not

provide required or adequate notice of repossession.

       36.      13 Pa. C.S. § 9625(c)(2) provides for damages for a secured party’s failure to follow

the proper procedures upon repossession. The statute allows a consumer debtor such as Plaintiff




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(and the putative class) to recover minimum damages of not less than the credit service charge plus

10% of the principal amount of the obligation without evidence of harm.

       37.     The statutory damages are derived from a simple, straightforward and uniform

arithmetic calculation.

       38.     The two figures needed for the statutory damage calculation are plainly visible on

and determinable from the face of the consumer’s Retail Installment Sale Contract.

IV.    CLASS ALLEGATIONS

       39.     Plaintiff brings this action on his own behalf and on behalf of a class pursuant to

Rules 1701-1717 of the Pennsylvania Rules of Civil Procedure.

       40.     Plaintiff proposes to define the “Class” as All Persons:

               (a)        who financed the purchase of a motor vehicle for consumer use
                          through the Bank, or who financed the purchase through another
                          entity but such finance agreement was thereafter assigned to the
                          Bank;

               (b)        from whom the Bank, as secured party, repossessed the vehicle or
                          ordered it repossessed;

               (c)        who had a Pennsylvania address as of the date of repossession;

               (d)        in the period commencing six years prior to the date of filing of the
                          Complaint through the date of class certification.

       41.     On information and belief, there are many members in the Class, making the Class

so numerous that joinder of all members is impractical. This matter involves form notices sent out

to Pennsylvania consumers in Philadelphia County and elsewhere.

       42.     There are questions of law or fact common to the Class. These include:

               (a)        Whether Plaintiffs and the Class financed the purchase of a motor vehicle
                          for consumer use through the Bank, or who financed the purchase through




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                       another entity but such finance agreement was thereafter assigned to the
                       Bank;

               (b)     Whether Plaintiffs and the Class pledged their motor vehicle as collateral in
                       the finance agreement;

               (c)     Whether the Bank repossessed the vehicle or ordered it repossessed;

               (d)     Whether the Bank failed to send the notice of repossession and disposition
                       of collateral (“Notice”) required under Pennsylvania law after repossessing
                       a vehicle.

               (e)     The uniform statutory damages provided for failure to send the post-
                       repossession Notice required under the law;

       43.     The claims of Plaintiffs are typical of those of the Class. All are based on the same

factual and legal theories. All class members financed the purchase of a motor vehicle for

consumer use through the Bank, or financed the purchase through another entity but such finance

agreement was thereafter assigned to the Bank. All class members pledged their vehicle as

collateral. The Bank declared a default on all. All class members either were sent inadequate form

Notice, or were sent no notice at all.

       44.     Plaintiffs will fairly and adequately protect the interest of the Class. Plaintiffs have

no interest antagonistic to those of the Class.

       45.     Plaintiffs’ counsel is competent and experienced in consumer class actions in

general and in UCC and repossession class actions specifically.

       46.     The Bank has acted on grounds generally applicable to the Class, thereby making

final relief appropriate with respect to the class as a whole.

       47.     The questions of law and fact common to the Class predominate over any questions

affecting only individual members.

       48.     The prosecution of separate actions by the members of the Class would create a risk

of inconsistent or varying adjudications.

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       49.       This class action provides a fair and efficient method for adjudication of the

controversy.

       50.       The class members are consumer debtors who may be unable to locate or afford to

hire lawyers, particularly in light of the modest size of any individual recovery.

       51.       The size of the class and any trial would be readily manageable.

                                         COUNT I
                                UNIFORM COMMERCIAL CODE

       52.       Plaintiff repeats the allegations set forth above as if the same were here set forth at

length herein.

       53.       Defendant Bank violated Pennsylvania’s Uniform Commercial Code by failing to

provide proper notice of repossession and disposition of collateral (i.e. Notice) as set forth above.

       54.       Defendant Bank failed to act in a commercially reasonable manner by failing to

provide a proper timely Notice, 13 Pa. C.S. §§ 9610, 9611–9614.

       WHEREFORE, Plaintiffs Gary Nelson and Kaleigh Potter pray that this Court certify the

Class and enter judgment for Plaintiffs and the class members:

                 (a)    Awarding statutory damages to Plaintiffs and the class as provided by the

UCC, 13 Pa. C.S. § 9625(c);

                 (b)    For interest and costs; and,

                 (c)    Granting such other and further relief as may be deemed just and proper.

                                                Respectfully submitted:

Date: 9/28/2022                                 /s/ Cary L. Flitter
                                                CARY L. FLITTER
                                                ANDREW M. MILZ
                                                JODY THOMAS LÓPEZ-JACOBS
                                                FLITTER MILZ, P.C.
                                                450 N. Narberth Avenue, Suite 101
                                                Narberth, PA 19072

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                               Attorneys for Plaintiffs and the Class




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